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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA


 PLANNED PARENTHOOD GULF COAST,
 INC.; PLANNED PARENTHOOD CENTER
 FOR CHOICE; JANE DOE #1; JANE DOE #2;
 and JANE DOE #3,

                        Plaintiffs,                    No. 3:18-cv-00176-JWD-RLB

        v.

 REBEKAH GEE, in her official capacity as
 Secretary of the Louisiana Department of
 Health,

                        Defendant.


    PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
                        MOTION TO DISMISS
                                       INTRODUCTION

       Plaintiffs Planned Parenthood Gulf Coast, Inc. (“PPGC”), Planned Parenthood Center for

Choice (“PPCfC”), and the Patient Plaintiffs have pleaded justiciable claims arising from the

Defendant’s refusal to grant PPCfC’s abortion license application and a statute precluding PPGC

from receiving Medicaid funding when PPCfC is licensed. Defendant insists that the Court

cannot adjudicate Plaintiffs’ claims until the Louisiana Department of Health (“LDH”) renders a

final decision on PPCfC’s application, a decision that LDH concedes it will not make so long as

any authority anywhere is investigating a provider affiliated with Planned Parenthood for any

conceivable violation of the law, no matter the investigation’s merits. Deferring resolution of this

case will not sharpen the legal issues for review and, in the meantime, Plaintiffs and the women

of Louisiana will continue to suffer serious hardship. Accordingly, Plaintiffs’ well-pleaded

claims are ripe and should be adjudicated forthwith.
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                                                ARGUMENT

        I.       Plaintiffs’ License-Related Claims Are Justiciable.

        LDH will continue to stall until this Court orders it to act, rendering Plaintiffs’ license-

related claims ripe for review now. Each day that LDH delays, it exacerbates obstacles to

abortion access in Louisiana and impairs Plaintiffs’ rights under federal law. Neither the Burford

abstention doctrine nor Defendant’s premature and unfounded concerns about the scope of an

injunction deprive the Court of jurisdiction to adjudicate Plaintiffs’ ripe federal claims.

                 A. The License Claims Are Ripe.
        The “key considerations” of ripeness are the “fitness of the issues for judicial decision

and the hardship to the parties of withholding court consideration.” Roark & Hardee LP v. City

of Austin, 522 F.3d 533, 545 (5th Cir. 2008) (quotations omitted). LDH has repeatedly confirmed

that it will indefinitely delay rendering a formal decision on PPCfC’s application. Therefore,

withholding judicial review at this time will not clarify the legal issues and will only make the

situation worse for the women of Louisiana.

        As to the first consideration, fitness of the issues for judicial decision, Defendant urges

the Court to wait until LDH issues a formal decision on PPCfC’s application. Def.’s Mem. 9-10.

But Defendant ignores Plaintiffs’ allegation that LDH has constructively denied PPCfC’s

application by refusing to act on it. Compl. ¶ 74. Despite acknowledging that PPCfC has “the

right to have some end to” the investigation, Defendant admits there is no end in sight. Status

Conference Tr. 6:8, Mar. 5, 2018 (ECF No. 34). Specifically, Defendant avows that so long as

any authority is investigating any provider associated with Planned Parenthood for any reason,

LDH will not end its investigation and issue PPCfC a license, even though Defendant concedes

that PPCfC has satisfied every other licensing requirement.1 Def.’s Mem. at 4-5, 10-11, 16.


1
  Defendant misstates the facts when she asserts that LDH could have cancelled PPCfC’s application due to a
supposed five-month delay in responding to LDH’s letter requesting additional information. Def.’s Mem. at 4. In
fact, LDH agreed to toll the deadline to respond during the review of PPCfC’s materials by the Office of the State
Fire Marshal, and PPCfC’s application was completed within the ninety-day deadline. See Linton Decl. ¶¶ 2-4, Apr.
12, 2018 (submitted herewith).

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Defendant maintains this position even though the only investigation that is even pending in

Louisiana (a confidential investigation by the state Attorney General that was commenced some

six months after LDH’s June 2017 letter) concerns PPGC, and not PPCfC, which is the actual

applicant. Id. at 6-7; Magee Decl. ¶ 3. Defendant further concedes that the other “investigations”

into Plaintiffs are being conducted by other entities and in other jurisdictions. Def.’s Mem. at 6-

7. Consequently, LDH has no way of controlling how long those investigations into Plaintiffs

will last and, in some instances, does not even know what the allegations entail.2 See Castello

Decl. ¶ 18 (admitting Texas “was unable to provide further details about the investigation”).
Those investigations, moreover, involve mere allegations of wrongdoing; they have not yielded

any findings that Plaintiffs are “in violation” of any law, as is required to deny the application.

La. Rev. Stat. § 40:2175.6(G); see Def.’s Mem. at 5 (recognizing any violations are only

“potential”); Castello Decl. ¶ 19 (same). These facts underscore the pretextual and unjustified

nature of LDH’s delay. See Compl. ¶¶ 38-42, 63-71 (documenting politically motivated

obstruction and fruitless investigations). Yet LDH intends to continue to refuse to make a

decision on PPCfC’s application anytime soon (and possibly ever). In light of these facts, there is

no reason to wait to adjudicate the “legal question that towers over this case,” namely, whether

Defendant’s refusal to act on PPCfC’s application violates the Constitution. Am. Forest & Paper

Ass’n v. U.S. E.P.A., 137 F.3d 291, 297 (5th Cir. 1998).

        Moving to the second ripeness consideration, there are “strong reason[s] why [PPCfC]

must bring its challenge now.” Ohio Forestry Ass’n, Inc. v. Sierra Club, 523 U.S. 726, 734

(1998). As alleged in the Complaint, Defendant’s indefinite delay is currently causing PPCfC

and its patients to suffer serious hardship. See Compl. ¶¶ 75-97; contra Def.’s Mem. at 11 (“[N]o

hardship to Plaintiffs can inure from waiting.”). In other words, PPCfC and its patients have

already and “immediately” felt “the impact” of LDH’s inaction “in conducting their day-to-day


2
 LDH does know that no investigation into Plaintiffs in Louisiana could possibly be “related to an abortion or
abortion procedures,” La. Admin. Code § 48:4403(C), because Plaintiffs do not provide abortions in Louisiana, see
Linton Decl. ¶ 11, Feb. 21, 2018 (ECF No. 3-3).

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affairs.” Planned Parenthood Gulf Coast, Inc. v. Kliebert, 141 F. Supp. 3d 604, 627 (M.D. La.

2015), aff’d sub nom. Planned Parenthood of Gulf Coast, Inc. v. Gee, 862 F.3d 445 (5th Cir.

2017) (quoting Toilet Goods Ass’n v. Gardner, 387 U.S. 158, 164 (1967)). For instance, LDH

has left PPCfC unable to fulfill its mission of providing abortions to women in need, a mission it

has invested considerable resources into advancing. See, e.g., Compl. ¶¶ 33-44. And each day

that PPCfC is blocked from providing abortions, its patients face substantial obstacles in

accessing much needed and constitutionally protected care—obstacles that a licensed PPCfC will

lift. See id. ¶¶ 75-97. Indeed, the situation has grown more precarious since this suit was filed, as
the sole abortion provider in New Orleans has had to cut back critical services. See Linton Decl.

¶ 6. For those reasons, PPCfC’s substantive due process claim is ripe.

        Defendant does not—and could not—contest the ripeness of Plaintiffs’ other claims.

Plaintiffs have also pleaded that Defendant has violated PPCfC’s rights to equal protection and

procedural due process by singling PPCfC out for unfavorable treatment based solely on animus

toward abortion and by depriving PPCfC of the procedural protections it is due. Compl. ¶¶ 119-

20, 125-26. PPCfC has suffered—and will continue to suffer—harms flowing from these

violations regardless of whether it ultimately receives a license. See, e.g., Ne. Fla. Chapter of

Associated Gen. Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 666 (1993) (“When

the government erects a barrier that makes it more difficult for members of one group to obtain a

benefit . . . [t]he ‘injury in fact’ . . . is the denial of equal treatment resulting from the imposition

of the barrier, not the ultimate inability to obtain the benefit.”).

        Defendant is therefore wrong to contend that this Court cannot act until LDH formally

denies PPCfC’s application. Def.’s Mem. 9-10. It makes no difference that LDH has injured

PPCfC and its patients through deliberate inaction as opposed to direct action. The “key

question” is whether the plaintiff is the “object” of the government action “or forgone action” at

issue. Duarte ex rel. Duarte v. City of Lewisville, 759 F.3d 514, 517-18 (5th Cir. 2014) (quoting

Lujan v. Defenders of Wildlife, 504 U.S. 555, 561-62 (1992)) (emphasis added). Thus, in Ohio

Forestry, the Supreme Court explained that an agency’s decision to “grant, withhold, or modify

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any formal legal license” creates hardship sufficient to render a case ripe for review. 523 U.S. at

733 (emphasis added); see also Kliebert, 141 F. Supp. at 627 (quoting this language). Although

Defendant cites (at 11) Choice Inc. of Texas v. Greenstein, 691 F.3d 710 (5th Cir. 2012), in

support of its position, Choice Inc. confirms that “withholding the license itself” can cause a

“sufficient” harm. Id. at 717. PPCfC has “imminent” and “concrete plans” to open an abortion

clinic, which LDH has disrupted by withholding the license PPCfC is lawfully due. Lujan, 504

U.S. at 564. In so doing, LDH has prevented women from accessing critical abortion care and

created ripe injuries.
         Separately, Defendant tacitly admits what Plaintiffs have alleged, i.e., that LDH has

constructively denied PPCfC’s application. LDH has decided to “pretermit its licensing

decision.” Def.’s Mem. at 10. Pretermit means “to suspend indefinitely.” Merriam-Webster’s

Collegiate Dictionary (11th ed. 2014). Just as in Groome Res. Ltd., LLC v. Parish of Jefferson, in

doing so, LDH has created an “indeterminate delay” that prevents PPCfC from receiving its

license, producing the “same effect as an outright denial” of its application. 234 F.3d 192, 199

(5th Cir. 2000) (explaining that denials “can be both actual or constructive” and holding that a

town’s failure to act on an application for a zoning variance after only ninety-five days was a

constructive denial ripe for review). Common sense confirms that a defendant cannot avoid suit

“by the simple expedient of delaying action on an application.” Merrill v. Agnesian Healthcare,

Inc., No. 07-C-938, 2009 WL 440942, at *4 (E.D. Wis. Feb. 23, 2009) (jury could conclude that

hospital denied application by refusing to grant it). Through indefinite—and potentially

unending—delay, LDH has constructively denied PPCfC’s application and in this manner has

also created a ripe injury.3

         None of the cases Defendant cites (at 9) are to the contrary. The challenge in Monk v.

Huston, 340 F.3d 279, 281-83 (5th Cir. 2003), was unripe because the homeowners trying to stop

an agency from issuing a permit for a nearby landfill would not be injured unless the agency

3
 Whether this delay is justified is a merits question that has no bearing on the ripeness of Plaintiffs’ claims. See
Gee, 862 F.3d at 455 (rejecting LDH’s attempt “to bootstrap” a substantive question into the justiciability inquiry).

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issued the permit. Here, by contrast, LDH has already injured PPCfC and its patients—who are

the object of the regulation, not third parties like the Monk homeowners—through its inaction

and constructive denial. Bova v. City of Medford, 564 F.3d 1093 (9th Cir. 2009), and Oil,

Chemical & Atomic Workers Int’l Union AFL-CIO v. Gillette Co., 905 F.2d 1176 (8th Cir.

1990), are inapposite because the claims there were unripe not because the plaintiffs had not yet

received a decision on their applications for retirement benefits, but because the plaintiffs in each

case had not yet applied for the benefits; indeed, they had not retired. 564 F.3d at 1096-97; 905

F.2d at 1177. Finally, the unpublished decision in Lawrence v. Chabot, 182 F. App’x 442, 455
(6th Cir. 2006), turned largely on the fact that the state was criminally prosecuting a lawyer

while it waited to adjudicate his application to the bar. In contrast to those three cases, Plaintiffs

have specifically alleged that the cost of further delay to women’s health and dignity is enormous

and unwarranted. Compl. ¶¶ 79-97.

               B. Burford Abstention Is Not Appropriate.

       Because federal courts have a “virtually unflagging” “obligation” to exercise their

jurisdiction, “only exceptional circumstances” justify abstention. New Orleans Pub. Serv., Inc. v.

Council of City of New Orleans (NOPSI), 491 U.S. 350, 359, 368 (1989) (quotations omitted).

Thus, a court may abstain under Burford v. Sun Oil Co., 319 U.S. 315 (1943), only “[w]here

timely and adequate state-court review is available.” NOPSI, 491 U.S. at 361; Def.’s Mem. at 12

(acknowledging this is a “threshold standard for Burford abstention”). Defendant argues that

LDH has not issued a final decision on PPCfC’s application yet demands that PPCfC avail itself

of mechanisms of state-court review that require a final decision or denial. Def.’s Mem. at 9, 12.

Section 49:964 of the Louisiana Revised Statutes applies only when there has been a “final

decision or order;” § 40:2175.6(G) applies only when a license is denied, revoked, or not

renewed; and § 49:992(D)(2)(b)(vi) applies only when a license is denied, revoked, or

suspended. Contra Def.’s Mem. at 15. By Defendant’s own account, it is thus unclear whether




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state-court review is “available.”4

         Even were state review available here, the remaining Burford factors counsel against

abstention. Def.’s Mem. at 12, 13 (listing the factors). As to the first factor, “the cause[s] of

action arise[] under federal law,” not state law. Romano v. Greenstein, 721 F.3d 373, 380 (5th

Cir. 2013) (rejecting LDH’s invocation of Burford abstention in a Medicaid case); see Compl.

¶¶ 117-26.

         Second, this case does not “require[] inquiry into unsettled issues of state law, or into

local facts.” Romano, 721 F.3d at 380 (quotations omitted). Plaintiffs do not challenge LDH’s
authority to regulate abortion providers or issue licenses, only whether Defendant has violated

the U.S. Constitution by refusing to issue PPCfC a license. The simple fact that a license is at

issue does not justify abstention. See Hachamovitch v. DeBuono, 159 F.3d 687 (2d Cir. 1998)

(rejecting Burford abstention in § 1983 action by a physician challenging license-suspension

procedures); contra Def.’s Mem. at 13. Nor are Plaintiffs challenging Defendant’s interpretation

of state law or regulations. The only question is whether application of those laws and

regulations is constitutional. Courts do not defer to states on that question. See Whole Woman’s

Health v. Hellderstedt, 136 S. Ct. 2292, 2309-10 (2016).5

         Third, the state’s interest in regulating abortion providers does not override the Plaintiffs’

“paramount” interest in vindicating their federal rights. Romano, 721 F.3d at 380. Federal courts

routinely enjoin state officials from regulating abortion in ways they claim promote women’s

health and respect for potential life.6 If anything, LDH has abdicated its purported sovereign

4
  The lack of a formal, final decision does not prevent this Court from reviewing Plaintiffs’ claims because federal
courts recognize that constructive denials constitute ripe injuries, see Groome, 234 F.3d at 199, and because
plaintiffs in § 1983 actions need not exhaust state administrative remedies, Romano v. Greenstein, 721 F.3d 373,
376 (5th Cir. 2013).
5
  Defendant raises the potential applicability of the deliberative-process privilege as another reason to abstain. Def.’s
Mem. at 14. But that is merely a discovery issue and, in any event, Defendant has waived the privilege by
voluntarily disclosing internal deliberations in the memorandum and attached declarations. Id. at 5-7.
6
  See, e.g., Whole Woman’s Health, 136 S. Ct. at 2300, 2320 (remanding for lower courts to enjoin two purportedly
health-related regulations of abortion providers); Planned Parenthood of Dutchess-Ulster, Inc. v. Steinhaus, 60 F.3d
122, 127 (2d Cir. 1995) (vacating decision abstaining under Burford where a Planned Parenthood affiliate claimed
officials violated its federal constitutional rights by denying it the opportunity to compete for a government contract
due to its support for abortion rights).

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interests by outsourcing its investigations to other jurisdictions.

         Fourth, review of a single licensing decision would not undermine any “coherent policy”

in this area. Id. Louisiana regulates abortion through numerous independent regulations, most of

which are not at issue here. See Compl. ¶ 78. Even if all the regulations were implicated here, the

Court need not abstain “merely because resolution of a federal question may result in the

overturning of a state policy.’” NOPSI, 491 U.S. at 363 (quotations omitted). Finally, as

discussed above, there is no “special state forum for judicial review” of LDH’s non-decision.

Romano, 721 F.3d at 380; see supra at 6.
                  C. This Court Has Jurisdiction To Award the Relief Plaintiffs Seek.

         Defendant’s concerns about the appropriate scope of any future injunctive relief (Def.’s

Mem. at 15-17) are unfounded.7 First, there is no need for the Court to determine the appropriate

scope of an injunction before it has even adjudicated the merits. See Swann v. Charlotte-

Mecklenburg Bd. of Educ., 402 U.S. 1, 15 (1971) (“Once a right and a violation have been

shown, the scope of a district court’s equitable powers to remedy past wrongs is broad, for

breadth and flexibility are inherent in equitable remedies.”).

         In any event, the Court has ample authority to award any of the relief—declaratory and

injunctive—Plaintiffs seek. Federal courts routinely award injunctive relief in similar

circumstances. See, e.g., Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d 328 (5th Cir.

Unit B Nov. 1981) (reversing the denial of preliminary injunction of a city’s refusal to issue an

occupational license to an abortion facility); Comprehensive Health of Planned Parenthood

Great Plains v. Williams, 263 F. Supp. 3d 729, 738 (W.D. Mo. 2017) (preliminarily enjoining

requirements preventing the opening of new abortion clinics, noting injunctive relief altering the

status quo was appropriate because “[t]he abortion rights of Missouri women, guaranteed by

constitutional rulings, are being denied on a daily basis, in irreparable fashion”). Indeed, many of


7
  Defendant focuses on Plaintiffs’ request for an order requiring LDH to issue the license. Def.’s Mem. at 15-17.
However, Plaintiffs actually seek alternative forms of injunctive relief, including an order that merely directs LDH
to make a prompt decision on the application. See Compl. ¶ 128.

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our country’s most important decisions have required state officials to comply with federal law,

even when doing so was inconsistent with state law. See, e.g., Brown v. Board of Educ., 347 U.S.

483 (1954).

        Finally, Defendant contends that this Court cannot award Plaintiffs relief on their

licensing claims because “the rights that Plaintiffs assert derive only from State law.” Def.’s

Mem. at 16. In fact, all of PPCfC’s rights are rooted in the federal Constitution—including the

right to abortion, which PPCfC may assert on behalf of its patients. See Planned Parenthood of

Greater Texas Surgical Health Servs. v. Abbott, 748 F.3d 583, 589 (5th Cir. 2014); contra Def.’s
Mem. at 16. Plaintiffs have not asserted any state law claims. See Compl. ¶¶ 117-26. For that

reason, Defendant’s reliance on Pennhurst State School & Hospital v. Halderman, 465 U.S. 89,

106 (1984), which merely prevents federal courts from “grant[ing] . . . relief against state

officials on the basis of state law,” is misplaced.8

        II.      Plaintiffs’ Act-Related Claims Are Justiciable.

        Defendant is wrong in arguing that Plaintiffs’ HB 606 claims are not justiciable on

standing and ripeness grounds because the act does not yet apply to PPGC. It is “well-established

. . . that a threatened injury may be sufficient to establish standing.” Gee, 862 F.3d at 455; see

Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014) (“An allegation of future injury

may suffice if the threatened injury is certainly impending, or there is a substantial risk that the

harm will occur.” (quotations omitted)).

        “Mere threatened injury is sufficient, and the threat in this case is real.” Loa-Herrera v.

Trominski, 231 F.3d 984, 988 (5th Cir. 2000). PPCfC has applied for a license to provide

abortion services; only Defendant’s unconstitutional conduct prevents PPCfC from obtaining it.

The moment PPCfC receives the license, HB 606 will apply to PPGC. And there is no doubt

Defendant will enforce the act: Defendant has already attempted (unsuccessfully) to terminate

8
 The other cases Defendant cites are equally inapposite. In Fairley v. Louisiana, 254 F. App’x 275, 277-78 (5th Cir.
Sept. 11, 2007) (per curiam), the plaintiff had no viable federal claims and was advancing a theory under state law.
And in Lelsz v. Kavanagh, 807 F.2d 1243, 1247-48 (5th Cir. 1987), as in Pennhurst, the plaintiffs were seeking to
enforce rights that arose from state, not federal law.

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PPGC’s Medicaid provider agreements, see Gee, 862 F.3d 445, and the Legislature openly

tailored HB 606 to target PPGC, see Compl. ¶ 10. See Susan B. Anthony List, 134 S. Ct. at 2345

(“[P]ast enforcement against the same conduct is good evidence that the threat of enforcement is

not chimerical.” (quotations omitted)); Pearson v. Holder, 624 F.3d 682, 684 (5th Cir. 2010)

(“Where the inevitability of the operation of a statute against certain individuals is patent, it is

irrelevant to the existence of a justiciable controversy that there will be a time delay before the

disputed provisions will come into effect.” (quoting Regional Rail Reorganization Act Cases,

419 U.S. 102, 143 (1974))). Here, the threat is real and inevitable. Forcing Plaintiffs to wait until
PPCfC succeeds on its license-related claims before PPGC and the Patient Plaintiffs can pursue

their Medicaid-defunding claims will only result in relitigation of overlapping legal issues and

needless delay in the resolution of this case.

       Finally, there is no basis to transfer or stay this action in light of June Medical Servs. LLC

v. Gee, No. 3:16-cv-444 (M.D. La), or Gee, 862 F.3d 445. Unlike Plaintiffs, the June plaintiffs

have not alleged that HB 606 violates the federal Medicaid statute, 42 U.S.C. 1396a(a)(23). And

the proposed amendment to HB 606 that Defendant cites may moot the HB 606 claim in June,

but not this case. And there is no cause to even consider holding this case for Gee unless the

Supreme Court grants Defendant’s petition for certiorari. A stay is particularly inappropriate

given Plaintiffs’ pending request for a preliminary injunction, which is necessary to halt ongoing

and irreparable harm.

                                          CONCLUSION

       For the foregoing reasons, Defendant’s motion to dismiss should be denied.



Dated: April 18, 2018

                                          /s/ Brandon H. Robb
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                               CERTIFICATE OF SERVICE

      I hereby certify that on the 18th day of April, 2018, a copy of the foregoing has been

served upon all counsel of record in this action by electronic service through the Court’s

CM/ECF system.


                                        /s/ Brandon H. Robb
                                        Brandon H. Robb




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